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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Abdu Tuku, as trustee for the next-of-kin of       Case No.:
Abdulhafiz Umer Hussein, deceased,

               Plaintiff,                                     COMPLAINT
                                                        (JURY TRIAL DEMANDED)
VS.


TraLo Companies, Inc., a Minnesota
corporation.

               Defendant.


        Plaintiff Abdu Tuku, as trustee for the next-of-kin of Abdulhafiz Umer Hussein

(Abdul Hussein), deceased, alleges:

                                   INTRODUCTION

         Abdul Hussein was a 37-year-old husband and father of three who supported his

family as a truck driver until October 18, 2016. That day, Abdul Hussein was driving

his tractor-trailer on a four-lane, divided interstate highway. Around noon, an

oncoming tractor-trailer crossed the median toward Abdul Hussein's vehicle. The

tractor-trailers collided head-on, killing Abdul Hussein and the other driver.

                                        PARTIES

         1.    Plaintiff Abdu Tuku resides in Reston, Fairfax County, Virginia.

         2.    Abdul Hussein, the decedent, was born on April 21, 1979, in Ethiopia and

died on October 18, 2016. He was a citizen of the United States of America. Abdul

Hussein is survived by his wife, Mona, and their three children, now ages twelve, ten,

and four.




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        3.    On June 26, 2017, Mr. Tuku was appointed trustee for the next-of-kin of

Abdul Hussein to maintain this wrongful death action.

        4.    At all times material to this case, Michael R. Kalvig (Kalvig) was a resident

of Glenville, Freeborn County, Minnesota, and was employed by Defendant TraLo

Companies, Inc. (TraLo) as a truck driver.

        5.    Defendant TraLo is a Minnesota corporation with its principal place of

business at 3233 NW 52nd Avenue, Owatonna, Steele County, MN 55060.

        6.     At all times material to this case, Defendant TraLo employed or contracted

truck drivers to drive tractor-trailers.

         7.    All acts and omissions of Kalvig described in this Complaint were

committed within the scope of and during the course of their employment contract with

Defendant TraLo.

                               JURISDICTION AND VENUE

         8.    Mr. Tuku brings his complaint under federal diversity jurisdiction, 28

U.S.C. § 1332, as the parties are completely diverse in citizenship and the amount in

controversy far exceeds $75,000.

         9.    Venue in this judicial district is proper pursuant to 28 U.S.C. §§ 1391(b),

(c). Defendant TraLo Companies, Inc. resides in the State of Minnesota. A corporation

is deemed to reside in any judicial district where its contact would be sufficient to

subject it to personal jurisdiction at the time the action is commenced. Defendant TraLo

Companies, Inc. operated a trucking business in Owatonna, Minnesota at all times

relevant and including the day this action is commenced, within the boundaries of the



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United States District Court of the State of Minnesota.

                                           FACTS

         10.    In October 2016, Abdul Hussein was 37 years old. He and his wife, Mona,

had three young children ages ten, eight, and two.

         11.    Abdul Hussein worked as a truck driver to support his family.

         12.    On October 18, 2016, Abdul Hussein was driving his tractor-trailer

westbound on 1-90 in Winona County, Minnesota.

         13.    On October 18, 2016, Kalvig was driving a tractor-trailer eastbound on 1-90

in Winona County, Minnesota as an employee of Defendant TraLo.

         14.    October 18, 2016 was a sunny, clear day, and the road was dry.

          15.   Around noon, Kalvig's tractor-trailer drifted to its left and crossed

through the 53-foot wide grass median into the right lane of the westbound traffic.

          16.   Kalvig's tractor-trailer collided head-on with Abdul Hussein's tractor-

trailer in the right lane of westbound traffic.

          17.   Abdul Hussein and Kalvig died as a result of the collision.

                                          COUNT 1
                               (Negligence of Michael Kalvig)

          18.   Mr. Tuku re-alleges all preceding paragraphs.

          19.   Kalvig had a duty to act reasonably and to use due care while driving.

          20.   At the time and place of the subject collision, Kalvig operated his tractor-

trailer in a careless and negligent manner. Illustrations of Mr. Kalvig's carelessness and

negligence, cited by way of example but not limitation, are as follows:




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               a. Failure to pay proper attention to the roadway and traffic;

               b. Failure to keep a proper lookout while operating a vehicle;

               c. Failure to maintain reasonable and proper control of a vehicle;

               d. Failure to control the vehicle in order to avoid a collision;

               e. Failure to operate a vehicle at a reasonable and prudent speed under the

                  conditions;

               f. Failure to operate a vehicle with due care;

               g. Failure to obey the traffic laws of the state of Minnesota; and

               h. Other careless and negligent acts and omissions too numerous to mention

                  herein.

         21.      Because Kalvig was acting within the scope of his employment for

Defendant TraLo Companies, Inc. at all material times, Defendant TraLo is vicariously

liable for Kalvig's negligence.

                                             DAMAGES

         22.      Mr. Tuku realleges all preceding paragraphs.

         23.       As a direct and proximate result of Kalvig's negligence, Abdul Hussein

died, and his next-of-kin have suffered, and will continue to suffer, the loss of support,

companionship, and counsel, pecuniary loss, and other damages far in excess of

seventy-five thousand dollars.

                                      DEMAND FOR RELIEF

         Plaintiff Abdu Tuku prays for judgment against defendant in an amount far in

excess of $75,000, together with costs, disbursements, prejudgment interest, and such



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other and further relief as the Court deems appropriate.

                                      JURY DEMAND

        Plaintiff Abdu Tuku demands a jury trial.


DATED:       I   7/ 2        , 2018       ROBINS KAPLAN LLP



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       ACKNOWLEDGMENT REQUIRED BY MINN. STAT. § 549.211, SUBD. 2

        The undersigned hereby acknowledges that, pursuant to Minn. Stat. § 549.211,

subd. 2, costs, disbursements, and reasonable attorney and witness fees may be

awarded to the opposing party or parties in this litigation if the Court should find that

the undersigned acted in bad faith, asserted a claim or defense that is frivolous and that

is costly to the other party, asserted an unfounded position solely to delay the ordinary

course of the proceedings or to harass, or committed a fraud upon the Court.


DATED:         j ft a.        2018        ROBINS KAPLAN LLP



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